                  Case 2:19-cv-00207-JCC Document 9 Filed 06/06/19 Page 1 of 2



                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    NAZARIO HERNANDEZ,                                  CASE NO. C19-0207-JCC
10                           Appellant,                   BANKRUPTCY CASE NO. 19-S003
11               v.
                                                          MINUTE ORDER
12    FRANKLIN CREDIT MANAGEMENT CORP
      and DEUTSCHE BANK NATIONAL
13    COMPANY AS TRUSTEE FOR BOSCO
      CREDIT II TRUST SERIES 2010-1,
14

15                           Appellees.

16

17          The following Minute Order is made by direction of the Court, the Honorable John C.

18   Coughenour, United States District Judge:

19          This matter comes before the Court on Appellee’s motion for extension of time to file a

20   response brief (Dkt. No. 8). Finding good cause, the motion is GRANTED. See Fed. R. Bankr. P.

21   8013(b), 9006(b). Appellees shall file their response brief no later than July 5, 2019. Appellant

22   shall file his optional reply brief no later than July 19, 2019. The Clerk is DIRECTED to re-note

23   Appellant’s bankruptcy appeal for July 19, 2019.

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     MINUTE ORDER
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             Case 2:19-cv-00207-JCC Document 9 Filed 06/06/19 Page 2 of 2




 1        DATED this 6th day of June 2019.

 2                                             William M. McCool
                                               Clerk of Court
 3
                                               s/Tomas Hernandez
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                                               Deputy Clerk
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     MINUTE ORDER
     C19-0207-JCC
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